IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

4, a WESTERN DIVISION
Keen hyp rind
f° / J r mF

 

 

 

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the Plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

~against-

Chic Anlecon, K CRD? (ases
Daten’ Team wd Wnksow “Than
7x An é Poe $
(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

 

Complaint for a Civil Case

Case No. ¥ /§-Cv = Gols a.
(to be filled in by the Clerk’s Office)

REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury.
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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

 
 

Name o7, Ae o>
Street Address a. fivei lf fli CAL At WAL iaG: / VA, ZL, te,

City and County DAC bso 4 OQ AP, ki : G Me
State and Zip Code , 7 Vv

Telephone Number 5 Mp- SPAO-K0. O
E-mail Address Aly AF

B. The Defendant(s)

 

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Lehr bbrvabeh Fon

Job or Title ens Ch 43 ali cl Wiel Asta ned

(if known) 7a" (Zi ses Lonkaen¥- a” Tex
Street Address & é. eo Q. At HAS Last

City and County Lan SA City = Sachsen (2
State and Zip Code (49, —G/ ‘yy

Telephone Number 7 ZL DOM

E-mail Address U0 kaow/7/

 

 

 

(if known)

Defendant No. 2 Tele fr bi MEAS bon pre
Name Sane Res, AL be je ek
JoborTitle )vense Plate “Limbests
(if known)

Street Address
City and County

 

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State and Zip Code

 

Telephone Number

 

E-mail Address
(if known)

 

II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only three
types of cases can be heard in federal court. Provide the designated information for this

type of case. (Check all that apply)

ZI Federal question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

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[ ] Suit against the Federal Government, a federal official, or a federal agency

List the federal officials or federal agencies involved, if any.

 

 

 

[Diversity of Citizenship “tb Lut) / wy x Mfg Og JA A
oh OAnt Rees tye in Kansas, by Lic ott Smal Yoke uy hake tk Dean bs,

These are cases in which a citizen of one State suds a citizen of another tate or nation
and the amount at stake is more than $75,000. Ina diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

A. The Plaintiff(s)

The plaintiff, (name) , 1s a citizen of the State
of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

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B. The Defendant(s)

1. If the defendant is an individual

 
 
 
 

, is a citizen of
.. Orisacitizen of

The defendant, (name),
the State of (name)
(foreign nation)

 

2. If the defendant is a corporation

The defendant, (name) , 1s
incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (name) . Or is
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

C. The Amount in Controversy

The amount in controversy----the amount the plaintiff(s) claims the
defendant(s) owes or the amount at stake----is more than $75,000, not
counting interest and costs of court, because (explain):

 

 

 

Ili. Statement of Claim

Write a short and plain statement of FACTS that support your claim. Do not make legal
arguments. You must include the following information:

¢ What happened to you?
© What injuries did you suffer?

¢ Who was involved in what happened to you?

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* How were the defendants involved in what happened to you?
* Where did the events you have described take place?
* When did the events you have described take place?

If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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IV. Relief

 

 

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State briefly and precisely what damages or other relief you want from the Court. Do not
make legal arguments.

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Do you claim the wrongs alleged in your complaint are continuing to occur at the present time?
Yah No[ ]
Do you claim actual damages for the acts alleged in your complaint?

ved J No [|

Do you claim punitive monetary damages?

Yessq] No[ |

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If you indicated that you claim actual damages or punitive monetary damages, state the amounts
claimed and the reasons you claim you are entitled to recover these damages.

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

! agree to provide the Clerk’ s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’ s Office may result in the dismissal of my case.

Date of signing-<23 a 20’

Signature of Plaintiff AAA, = Spatnecs
Printed Name of Plaintift
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